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                           IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF DELAWARE

 MICROSOFT CORPORATION,                                )
                                                       )
                    Plaintiff,                         )       C.A. No.
                                                       )
 v.                                                    )
                                                       )       JURY TRIAL DEMANDED
 SYNKLOUD TECHNOLOGIES, LLC,                           )
                                                       )
                    Defendant                          )

                        COMPLAINT FOR DECLARATORY JUDGMENT

         Microsoft Corporation (“Microsoft”) hereby alleges for its complaint against SynKloud

Technologies, LLC (“SynKloud”) on personal knowledge as to its own activities and on

information and belief as to the activities of others as follows:

                                      NATURE OF THE ACTION

                   1.      This is an action for a declaratory judgment of non-infringement arising

under the patent laws of the United States, 35 U.S.C. § 1, et seq., and the Declaratory Judgment

Act, 28 U.S.C. § 2201. Microsoft seeks relief because Defendant SynKloud has made clear

through its actions that it intends to assert at least one claim of United States Patent Nos. 9,098,526

(“the ’526 Patent”), 10,015,254 (“the ’254 Patent”), 8,606,880 (“the ’6880 Patent”), 8,856,195

(“the ’195 Patent”), 8,868,690 (“the ’690 Patent”), 9,219,780 (“the ’780 Patent”), 9,239,686 (“the

’686 Patent”), 7,870,225 (“the ’225 Patent”), 7,792,923 (“the ’923 Patent”), 7,849,153 (“the ’153

Patent”) and 7,457,880 (“the ’7880 Patent”) (collectively, “the Patents-in-Suit”) against

Microsoft’s products and services.

                   2.      Microsoft has not infringed, and is not infringing, any claims of the Patents-

in-Suit. Microsoft thus seeks a declaratory judgment that, through its actions or through the

normal, advertised and expected use of its products, services or technology, it has not infringed,



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induced others to infringe, or contributed to the infringement by others of any claim of the Patents-

in-Suit.

                   3.   This relief is appropriate because Defendant SynKloud has alleged in this

district that HP Inc. (“HP”), one of Microsoft’s original equipment manufacturers (“OEMs”),

infringes the ’225, ’526 and ’254 Patents in part because of HP’s inclusion of Microsoft’s

OneDrive cloud storage software (“OneDrive”) in the accused HP products.                   SynKloud’s

Amended Complaint against HP further identifies that: (1) the ’225 Patent is related to the ’923

Patent; (2) the ’526 Patent is related to the ’690 and ’6880 Patents; and (3) the ’254 Patent is related

to the ’686 and ’6880 Patents. SynKloud Techs., LLC v. HP Inc., 1:19-cv-1360-RGA, D.I. 15 at

3, 8 and 12 (D. Del. Nov. 12, 2019). Further, SynKloud has launched a litigation campaign based

on the Patents-in-Suit, including filing suit against a number of Microsoft competitors in the cloud

storage industry alleging that they also infringe certain Patents-in-Suit on their counterpart cloud

storage technology. In its other lawsuits, SynKloud has asserted one or more of the Patents-in-

Suit selectively while making the same or substantially similar allegations regarding the allegedly

infringing conduct.

                   4.   These activities by SynKloud, including SynKloud’s claims and references

to Microsoft software, have placed a cloud over Microsoft and its products and have created a

substantial, definite, concrete and immediate justiciable controversy between Microsoft and

SynKloud over whether Microsoft’s software and services infringe any of the Patents-in-Suit.

                                              PARTIES

                   5.   Plaintiff Microsoft is a Washington state corporation with its principal place

of business located at One Microsoft Way, Redmond, Washington 98052.

                   6.   On information and belief, Defendant SynKloud is a limited liability



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company organized under the laws of the State of Delaware with its principal place of business at

124 Broadkill Road, Suite 415, Milton, DE 19968.

                                  JURISDICTION AND VENUE

                   7.    This action arises under the United States patent laws and includes a request

for declaratory relief under 28 U.S.C. §§ 2201 and 2202.

                   8.    This Court has subject matter jurisdiction under 28 U.S.C. §§ 1331, 1338,

and 2201, and 35 U.S.C. § 1, et seq.

                   9.    SynKloud is subject to personal jurisdiction in this judicial district.

SynKloud is a Delaware limited liability company with its primary place of business located within

this district, and it has sufficient business or contacts within the State of Delaware to justify

jurisdiction under the United States Constitution and the Delaware Long Arm Statute.

                   10.   Venue is proper under 28 U.S.C. §§ 1391(b)-(c) and 28 U.S.C. § 1400(b).

                         EXISTENCE OF AN ACTUAL CONTROVERSY

                   11.   Microsoft re-alleges and incorporates by reference each of Paragraphs 1-10

above.

                   12.   An actual controversy exists within the jurisdiction of this Court under

28 U.S.C. §§ 2201 and 2202.

                   13.   SynKloud purports to be the current owner of the ’526 Patent, entitled

“System and Method for Wireless Device Access to External Storage.” The ’526 Patent has been

asserted by SynKloud against HP. A copy of the ’526 Patent is attached hereto as Exhibit A.

                   14.   SynKloud purports to be the current owner of the ’254 Patent, entitled

“System and Method for Wireless Device Access to External Storage.” The ’254 Patent is in the




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same family as the ’526 Patent and has been asserted by SynKloud against HP. A copy of the ’254

Patent is attached hereto as Exhibit B.

                   15.   SynKloud purports to be the current owner of the ’6880 Patent, entitled

“Use of Wireless Devices’ External Storage.” The ’6880 Patent is in the same family as the ’526

and ’254 Patents and was identified by SynKloud in its Amended Complaint against HP. A copy

of the ’6880 Patent is attached hereto as Exhibit C.

                   16.   SynKloud purports to be the current owner of the ’195 Patent, entitled

“Method and System for Wireless Device Access to External Storage.” The ’195 Patent is in the

same family as the ’526, ’254 and ’6880 Patents. A copy of the ’195 Patent is attached hereto as

Exhibit D.

                   17.   SynKloud purports to be the current owner of the ’690 Patent, entitled

“System and Method for Support Wireless Device Access to External Storage.” The ’690 Patent

is in the same family as the ’526, ’254, ’6880 and ’195 Patents and was identified by SynKloud in

its Amended Complaint against HP. A copy of the ’690 Patent is attached hereto as Exhibit E.

                   18.   SynKloud purports to be the current owner of the ’780 Patent, entitled

“Method and System for Wireless Device Access to External Storage.” The ’780 Patent is in the

same family as the ’526, ’254, ’6880, ’195 and ’690 Patents. A copy of the ’780 Patent is attached

hereto as Exhibit F.

                   19.   SynKloud purports to be the current owner of the ’686 Patent, entitled

“Method and Apparatus for Wireless Devices Access to External Storage.” The ’686 Patent is in

the same family as the ’526, ’254, ’6880, ’195, ’690 and ’780 Patents and was identified by

SynKloud in its Amended Complaint against HP. A copy of the ’686 Patent is attached hereto as

Exhibit G.



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                   20.   SynKloud purports to be the current owner of the ’225 Patent, entitled “Disk

System Adapted to be Directly Attached to network.” A copy of the ’225 Patent is attached hereto

as Exhibit H.

                   21.   SynKloud purports to be the current owner of the ’923 Patent, entitled “Disk

System Adapted to be Directly Attached to Network.” The ’923 Patent is in the same family as

the ’225 Patent and was identified by SynKloud in its Amended Complaint against HP. A copy

of the ’923 Patent is attached hereto as Exhibit I.

                   22.   SynKloud purports to be the current owner of the ’153 Patent, entitled

“Method and System for Wireless Device Access to External Storage.” The ’153 Patent is in the

same family as the ’225 and ’923 Patents. A copy of the ’153 Patent is attached hereto as Exhibit

J.

                   23.   SynKloud purports to be the current owner of the ’7880 Patent, entitled

“System Using a Single Host to Receive and Redirect All File Access Commands for Shared Data

Storage Device From Other Hosts on a Network.” A copy of the ’7880 Patent is attached hereto

as Exhibit K.

                   24.   Since at least 2007, Microsoft has developed, marketed, used and offered

for sale its OneDrive software. OneDrive allows users to safely and securely store data on a cloud

storage service while also allowing users to access that stored data from multiple devices.

                   25.   On July 22, 2019, SynKloud filed an action against HP in the District of

Delaware alleging infringement of the ’526 and ’254 Patents. See SynKloud Techs., LLC v. HP

Inc., No. 1:19-cv-01360-RGA (D. Del.).          On November 12, 2019, SynKloud amended its

Complaint to also include allegations regarding the ’225 Patent as well as a fourth patent unrelated




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to the technology at issue here. SynKloud’s Amended Complaint further identified the ’923,

’6880, ’690 and ’686 Patents as being related to the ’225, ’526 and ’254 Patents.

                   26.   In its Amended Complaint against HP, SynKloud included claim charts

purporting to support its infringement theories. These claim charts accuse Microsoft’s products,

services and technology, including Microsoft OneDrive of infringing the ’225, ’526 and ’254

Patents. Copies of these claim charts are attached as Exhibits L, M, and N.

                   27.   SynKloud has further initiated a litigation campaign, including against a

number of Microsoft competitors accusing cloud storage technology similar to that accused in the

HP action as infringing patents with substantially similar claims as those patents asserted against

HP. SynKloud has asserted one or more of the Patents-in-Suit in each case of its litigation

campaign. See SynKloud Techs., LLC v. Dropbox, Inc., No. 6:19-cv-00525-ADA (W.D. Tex.,

Waco Division) (asserting ’7880 Patent); SynKloud Techs., LLC v. Dropbox, Inc., No. 6:19-cv-

00526-ADA (W.D. Tex., Waco Division) (asserting ’254, ’6880, ’195, ’690, ’780 and ’686

Patents); SynKloud Techs., LLC v. Adobe Inc., No. 6:19-cv-00527-ADA (W.D. Tex., Waco

Division) (asserting ’254, ’6880, ’195, ’690, ’780 and ’686 Patents); and SynKloud Techs., LLC v.

BLU Products, Inc., No. 1:19-cv-00553-RGA (D. Del.) (asserting ’254, ’526 and ’780 Patents).

                   28.   These actions, in combination with its public statements, have made clear

that SynKloud intends to enforce its patent portfolio broadly and generically against the entire

cloud storage industry, and against Microsoft products specifically. SynKloud claims that it is “a

research and Intellectual Property Licensing company . . . focused on providing needed Intellectual

Property Solutions for the cloud computing industry and beyond.”1 SynKloud further alleges that

it “offer[s] a beneficial and transparent portfolio license to the [cloud computing] industry under



1
    See https://www.synkloud.com.

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its entire patent portfolio . . . .” It “offers portfolio licenses to customers, users and industry

participants under the entire SynKloud portfolio . . . .”2 Each of the Patents-in-Suit is part of this

“SynKloud portfolio.”3 SynKloud also claims that its portfolio is directed to products in every

space of cloud storage technology:




                   29.   Neither Microsoft nor any of its products, services or technology infringe

or have infringed, directly or indirectly, any claim of the Patents-in-Suit. However, SynKloud’s

claims, allegations and statements directed to the cloud storage industry generally and OneDrive

specifically have placed a cloud of uncertainty over Microsoft and its products. This uncertainty

has created a substantial, definite, concrete and immediate justiciable controversy between


2
    See https://www.synkloud.com/licensing.
3
    See https://www.synkloud.com/portfolio.

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Microsoft and SynKloud regarding the Patents-in-Suit. Regardless of its public assertions to date,

SynKloud’s actions demonstrate that it intends to assert the ’6880, ’195, ’690, ’780, ’686, ’923,

’153 and ’7880 Patents against Microsoft, Microsoft products, and/or Microsoft OEMs, as it

already has asserted patents selectively from the same families, which contain claims that are

substantially similar. Each of the Patents-in-Suit that has not yet been asserted in court against a

Microsoft product or customer has claims that are substantially similar to the ’526, ’254 and ’225

Patents asserted against HP. Compare, e.g., Exhibit A (the ’526 Patent), Claim 1 (“establish a

wireless link for the wireless device access to a storage space of a predefined capacity assigned

exclusively to a user of the wireless device by a storage server”) and Exhibit F (the ’780 Patent),

claim 1 (“program instructions for establishing a wireless link for remotely access to the storage

space, the storage space allocated exclusively by a storage server to a user of the wireless device”);

compare Exhibit H (the ’255 patent), claim 1 (“the virtual host bus adapter controlling the NAD

in a way indistinguishable from the way as a physical host bus adapter device controls device so

that the host recognizes the NAD as if it is a local device connected directly to the system bus of

the host) and Exhibit J (the ’153 patent), claim 1 (“the virtual host bus adapter controlling the

device in a way indistinguishable from the way it is controlled as a physical host bus adapter device

controlling the same type of device so that the host recognizes the device as if it is a local device

connected directly to the system bus of the host”); see also Exhibits A, B, D-G (claiming priority

to Appl. No. 10/726,897 which issued as the ’6880 Patent).

                   30.   Accordingly, SynKloud’s statements and actions show that there is a

substantial controversy between Microsoft and SynKloud of sufficient immediacy and reality

conferring jurisdiction upon this Court pursuant to the Declaratory Judgment Act, 28 U.S.C. §§

2201 and 2202.



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                                        COUNT I
                         NONINFRINGEMENT OF U.S. PATENT NO. 9,098,526

                   31.      Microsoft re-alleges and incorporates the allegations of Paragraphs 1-30 as

if set forth herein in their entirety.

                   32.      Neither Microsoft nor its products, services or technology have infringed,

directly or indirectly, any claim of the ’526 Patent. For example, Microsoft OneDrive does not

contain a “storage space of a predefined capacity assigned exclusively to a user of the wireless

device by a storage server,” which is required by all the claims of the ’526 Patent.

                   33.      A substantial, definite, concrete and immediate justiciable controversy

exists between Microsoft and SynKloud with respect to whether Microsoft infringes any claim of

the ’526 Patent.

                   34.      Microsoft seeks a declaration that it does not infringe any claim of the ’526

Patent.

                                  COUNT II
                     NONINFRINGEMENT OF U.S. PATENT NO. 10,015,254

                   35.      Microsoft re-alleges and incorporates the allegations of Paragraphs 1-34 as

if set forth herein in their entirety.

                   36.      Neither Microsoft nor its products, services or technology have infringed,

directly or indirectly, any claim of the ’254 Patent. For example, Microsoft OneDrive does not

“carry out a requested operation for accessing [a] remote storage space in response to a user,

through the remote storage space displayed on [a] wireless device, performing [an] operation,”

which is required by all the claims of the ’254 Patent.




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                   37.      A substantial, definite, concrete and immediate justiciable controversy

exists between Microsoft and SynKloud with respect to whether Microsoft infringes any claim of

the ’254 Patent.

                   38.      Microsoft seeks a declaration that it does not infringe any claim of the ’254

Patent.

                                       COUNT III
                         NONINFRINGEMENT OF U.S. PATENT NO. 8,606,880

                   39.      Microsoft re-alleges and incorporates the allegations of Paragraphs 1-38 as

if set forth herein in their entirety.

                   40.      Neither Microsoft nor its products, services or technology have infringed,

directly or indirectly, any claim of the ’6880 Patent. For example, Microsoft’s OneDrive does not

“allocate[e] via a server a storage space of a predefined capacity for [a] wireless device,” which is

required by all the claims of the ’6880 Patent.

                   41.      A substantial, definite, concrete and immediate justiciable controversy

exists between Microsoft and SynKloud with respect to whether Microsoft infringes any claim of

the ’6880 Patent.

                   42.      Microsoft seeks a declaration that it does not infringe any claim of the ’6880

Patent.

                                       COUNT IV
                         NONINFRINGEMENT OF U.S. PATENT NO. 8,856,195

                   43.      Microsoft re-alleges and incorporates the allegations of Paragraphs 1-42 as

if set forth herein in their entirety.

                   44.      Neither Microsoft nor its products, services or technology have infringed,

directly or indirectly, any claim of the ’195 Patent. For example, Microsoft’s OneDrive does not



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“allocat[e] via a server a storage space of a predefined capacity for [a] wireless device,” which is

required by all the claims of the ’195 Patent.

                   45.      A substantial, definite, concrete and immediate justiciable controversy

exists between Microsoft and SynKloud with respect to whether Microsoft infringes any claim of

the ’195 Patent.

                   46.      Microsoft seeks a declaration that it does not infringe any claim of the ’195

Patent.

                                        COUNT V
                         NONINFRINGEMENT OF U.S. PATENT NO. 8,868,690

                   47.      Microsoft re-alleges and incorporates the allegations of Paragraphs 1-46 as

if set forth herein in their entirety.

                   48.      Neither Microsoft nor its products, services or technology have infringed,

directly or indirectly, any claim of the ’690 Patent. For example, Microsoft’s OneDrive does not

“allocate, via [a] storage device, a storage space of a predefined capacity to a wireless device,”

which is required by all the claims of the ’690 Patent.

                   49.      A substantial, definite, concrete and immediate justiciable controversy

exists between Microsoft and SynKloud with respect to whether Microsoft infringes any claim of

the ’690 Patent.

                   50.      Microsoft seeks a declaration that it does not infringe any claim of the ’690

Patent.

                                       COUNT VI
                         NONINFRINGEMENT OF U.S. PATENT NO. 9,219,780

                   51.      Microsoft re-alleges and incorporates the allegations of Paragraphs 1-50 as

if set forth herein in their entirety.



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                   52.      Neither Microsoft nor its products, services or technology have infringed,

directly or indirectly, any claim of the ’780 Patent. For example, Microsoft’s OneDrive does not

have “storage space allocated exclusively by a storage server to a user of [a] wireless device,”

which is required by all the claims of the ’780 Patent.

                   53.      A substantial, definite, concrete and immediate justiciable controversy

exists between Microsoft and SynKloud with respect to whether Microsoft infringes any claim of

the ’780 Patent.

                   54.      Microsoft seeks a declaration that it does not infringe any claim of the ’780

Patent.

                                       COUNT VII
                         NONINFRINGEMENT OF U.S. PATENT NO. 9,239,686

                   55.      Microsoft re-alleges and incorporates the allegations of Paragraphs 1-54 as

if set forth herein in their entirety.

                   56.      Neither Microsoft nor its products, services or technology have infringed,

directly or indirectly, any claim of the ’686 Patent. For example, Microsoft’s OneDrive does not

include “program instructions for allocating exclusively a first . . . storage space to a user of a first

wireless device,” which is required by all the claims of the ’686 Patent.

                   57.      A substantial, definite, concrete and immediate justiciable controversy

exists between Microsoft and SynKloud with respect to whether Microsoft infringes any claim of

the ’686 Patent.

                   58.      Microsoft seeks a declaration that it does not infringe any claim of the ’686

Patent.




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                                       COUNT VIII
                         NONINFRINGEMENT OF U.S. PATENT NO. 7,870,225

                   59.      Microsoft re-alleges and incorporates the allegations of Paragraphs 1-58 as

if set forth herein in their entirety.

                   60.      Neither Microsoft nor its products, services or technology have infringed,

directly or indirectly, any claim of the ’225 Patent. For example, Microsoft’s OneDrive does not

contain a “virtual host bus adapter controlling [a network-attached device] in a way

indistinguishable from the way as a physical host bus adapter device[s] so that the host recognizes

the [network-attached device] as if it is a local device connected directly to the system bus of the

host,” which is required by all the claims of the ’225 Patent.

                   61.      A substantial, definite, concrete and immediate justiciable controversy

exists between Microsoft and SynKloud with respect to whether Microsoft infringes any claim of

the ’225 Patent.

                   62.      Microsoft seeks a declaration that it does not infringe any claim of the ’225

Patent.

                                       COUNT IX
                         NONINFRINGEMENT OF U.S. PATENT NO. 7,792,923

                   63.      Microsoft re-alleges and incorporates the allegations of Paragraphs 1-62 as

if set forth herein in their entirety.

                   64.      Neither Microsoft nor its products, services or technology have infringed,

directly or indirectly, any claim of the ’923 Patent. For example, Microsoft’s OneDrive does not

contains a controller “wherein access to the disk is operatively controlled by the disk controller

[and] no disk access command is required to be routed through a server,” which is required by all

the claims of the ’923 Patent.



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                   65.      A substantial, definite, concrete and immediate justiciable controversy

exists between Microsoft and SynKloud with respect to whether Microsoft infringes any claim of

the ’923 Patent.

                   66.      Microsoft seeks a declaration that it does not infringe any claim of the ’923

Patent.

                                        COUNT X
                         NONINFRINGEMENT OF U.S. PATENT NO. 7,849,153

                   67.      Microsoft re-alleges and incorporates the allegations of Paragraphs 1-66 as

if set forth herein in their entirety.

                   68.      Neither Microsoft nor its products, services or technology have infringed,

directly or indirectly, any claim of the ’153 Patent. For example, Microsoft’s OneDrive storage

devices are not “controll[ed] in a way indistinguishable from the way” user device “physical host

bus adapter device[s] control[] the same type of device so that” user devices recognize storage

devices “as if [they are] a local device connected directly to the system bus” of the user device,

which is required by all the claims of the ’153 Patent.

                   69.      A substantial, definite, concrete and immediate justiciable controversy

exists between Microsoft and SynKloud with respect to whether Microsoft infringes any claim of

the ’153 Patent.

                   70.      Microsoft seeks a declaration that it does not infringe any claim of the ’153

Patent.

                                       COUNT XI
                         NONINFRINGEMENT OF U.S. PATENT NO. 7,457,880

                   71.      Microsoft re-alleges and incorporates the allegations of Paragraphs 1-70 as

if set forth herein in their entirety.



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                   72.   Neither Microsoft nor its products, services or technology have infringed,

directly or indirectly, any claim of the ’7880 Patent. For example, Microsoft’s OneDrive does not

have “a plurality of hosts coupled at a device level to [a] data storage device.”

                   73.   A substantial, definite, concrete and immediate justiciable controversy

exists between Microsoft and SynKloud with respect to whether Microsoft infringes any claim of

the ’7880 Patent.

                   74.   Microsoft seeks a declaration that it does not infringe any claim of the ’7880

Patent.

                                      PRAYER FOR RELIEF

          WHEREFORE, Microsoft prays for an Order and entry of Judgment against SynKloud as

follows:

                   A.    Declaring that Microsoft does not infringe, directly or indirectly, the ’526

                         Patent;

                   B.    Declaring that Microsoft does not infringe, directly or indirectly, the ’254

                         Patent;

                   C.    Declaring that Microsoft does not infringe, directly or indirectly, the ’6880

                         Patent;

                   D.    Declaring that Microsoft does not infringe, directly or indirectly, the ’195

                         Patent;

                   E.    Declaring that Microsoft does not infringe, directly or indirectly, the ’690

                         Patent;

                   F.    Declaring that Microsoft does not infringe, directly or indirectly, the ’780

                         Patent;



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                   G.   Declaring that Microsoft does not infringe, directly or indirectly, the ’686

                        Patent;

                   H.   Declaring that Microsoft does not infringe, directly or indirectly, the ’225

                        Patent;

                   I.   Declaring that Microsoft does not infringe, directly or indirectly, the ’923

                        Patent;

                   J.   Declaring that Microsoft does not infringe, directly or indirectly, the ’153

                        Patent;

                   K.   Declaring that Microsoft does not infringe, directly or indirectly, the ’7880

                        Patent;

                   L.   Declaring the case exceptional under 35 U.S.C. § 285 and awarding

                        Microsoft its reasonable attorneys’ fees in this action;

                   M.   Awarding Microsoft its costs and expenses in this action; and

                   N.   Granting such other and further relief as the Court deems proper and just.

                                     DEMAND FOR JURY TRIAL

          Microsoft, under Rule 38 of the Federal Rules of Civil Procedure, requests a trial by jury

of any issues so triable by right.




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                                       /s/ Kelly E. Farnan
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Dated: January 3, 2020




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